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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
 V.                                                   §               CASE NO. 6:08cr2
                                                      §
 ALEXCIE JERMAINE JOHNSON                             §

              ORDER ADOPTING THE REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE


        By order, the undersigned referred this matter to the Honorable John D. Love, United States

 Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11 and the Honorable John D. Love issued his

 Report and Recommendation of the United States Magistrate Judge [Clerk’s doc. #79]. The

 Magistrate Judge recommended that the Court accept Defendant’s guilty plea and conditionally

 accept his plea agreement. He further recommended that the undersigned finally adjudge Defendant

 as guilty on Count Five of the Superseding Indictment filed against Defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

 Report and Recommendation [Clerk’s doc. #79] of the United States Magistrate Judge are

 ADOPTED. Defendant’s guilty plea and the plea agreement are conditionally ACCEPTED by the

 Court at this time.




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        It is further ORDERED that, in accordance with Defendant’s guilty plea and the magistrate

 judge’s findings and recommendation, Defendant, Alexcie Jermaine Johnson, hereby adjudged as

 GUILTY on Count Five of the Superseding Indictment, conditioned upon the Court’s final

 acceptance of the guilty plea and plea agreement at sentencing.


       SIGNED this 10th day of June, 2008.




                                                        ____________________________________
                                                        MICHAEL H. SCHNEIDER
                                                        UNITED STATES DISTRICT JUDGE




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